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                                   STATEMENT OF FACTS

       I, James Lincoln, am a Special Agent with the Federal Bureau of Investigation (“FBI”),
assigned to the Washington Field Office Joint Terrorism Task Force, tasked with investigating
criminal activity pertaining to international and domestic terrorism. Currently, I am tasked with,
among other things, investigating criminal activity in and around the Capitol grounds on January
6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws. This affidavit is intended to show that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about December 13, 2021, the FBI received a tip that an individual who identifies
himself on the internet as “Semore Views” [subsequently identified as WILLIAM STEPHON
KIT] had been within the U.S. Capitol on January 6, 2021. The tipster provided a collage of images
of “Semore Views’ from the Capitol grounds and inside the Capitol. The images were identified
from open source information and are presented below as Images 1, 2 and 3.

                                                 Image 1




                                                 2
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                               Image 2




                               Image 3




                               3
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       On December 13, 2021, an FBI employee conducted searches through various social media
platforms for the name “Semore Views” resulting in multiple findings. The Subject appears to be
a consistent user of social media, including Facebook, Instagram, and Youtube. The Subject's
YouTube channel also provides links to various payment applications, including Venmo
(Semore_Views), Paypal (1routetaker4uk@gmail.com), and Cashapp ($Routetaker4).

        On February 1, 2022, the FBI received additional information that a YouTube user who
identifies himself as “Semore Views” posted a video on the Semore Views YouTube page showing
himself on the Capitol Grounds among the rioters on January 6, 2021. During the video, KIT is
wearing a red shirt that says “I am Semore Views”, a white t- shirt wrapped around his head, an
American flag bandana wrapped around his neck, and a military style camouflage jacket. At
approximately 2:50 pm, a line of police in riot gear, wearing face shields and holding batons, can
be seen attempting to prevent rioters on the Upper West Terrace from getting closer to the Capitol
building. KIT yells in response, “You ain’t go to push us like that,” and “hold the line.” KIT is
seen recording himself outside and later inside of the U.S. Capitol Building on January 6, 2021.
During the video, while standing in the first line of rioters immediately in front of the officers,
KIT, at times yelling at the officers, says, among other things:

       “There is a fucking price to pay for freedom.”

       “Are you willing to pay the price?”

       “Are you willing to fucking die for this shit?”

       “We are here to die for this shit today.”

       “My problem is with the politicians in the building right here (referring to the U.S.
Capitol).”

     In a conversation shown on the video with another protester who recognized him from his
YouTube channel, KIT states: “My name is Will.”

        At approximately 2:57 p.m, the video shows that KIT, on his own volition, walks into the
Capitol Building through the Senate Wing Door. From inside the Capitol, KIT, among a crowd of
rioters, states, “Where are those goddman politicians at? [We’re] taking over the goddman
Capitol.”

        A few minutes later, at approximately 3:01 p.m., closed-circuit television (CCTV) recorded
at the Capitol shows KIT exiting the Capitol Building through a broken window.

      Images 4 through 7 below are still images of KIT from the video posted on the Semore
Views YouTube channel. KIT is circled in red.




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                               Image 4




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                            Image 5




                            Image 6




                               6
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                                             Image 7




        As described above, closed circuit television from inside the Capitol captured KIT entering
at the Capitol at the Senate Wing Door at approximately 2:57 p.m., remaining until approximately
3:01 p.m., and then exiting through a broken window. Images 8 through 10 below are images
recorded by CCTV. KIT is circled in red.

                                             Image 8




                                                7
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                               Image 9




                              Image 10




                               8
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        Your affiant reviewed a video posted on the Semore Views YouTube channel in which
KIT describes being interviewed after January 6, 2021 by the Metropolitan Police. Your affiant
confirmed that on or about January 8, 2021, an officer with the Metropolitan Police had
interviewed KIT in-person at KIT’s place of employment, a convenience store in Oxon Hill
Maryland. During the interview, KIT stated that his name was WILLIAM KIT. He acknowledged
being the person shown in the video described above. He further acknowledged that he entered the
Capitol on January 6, 2021. KIT claimed, in sum and substance, that he had been forced inside the
building by the crowd.

        Your affiant has also obtained a driver’s license check of KIT, which was issued in
Maryland, and confirmed that the photo of the individual identified as WILLIAM STEPHON KIT
appears to match the invidual shown in the images above. Further, your affiant has conducted
surveillance of KIT at the convenience store where KIT works, and confirmed that KIT appears to
be the same individual shown entering the Capitol in the Semore Views video. Moreover, your
affiant has reviewed Semore Views videos on YouTube and observed that some of the videos
appeared to have been filmed in the convenience store where KIT works.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
WILLIAM STEPHON KIT violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that WILLIAM STEPHON
KIT violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of




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Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.




                                                       Special Agent James Lincoln
                                                       FEDERAL BUREAU OF
                                                       INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this ___28th__ day of July 2022.                               Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2022.07.28
                                                                        11:52:19 -04'00'
                                                       ___________________________________
                                                       HONORABLE G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE




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